  Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 1 of 50 PageID #: 1



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE



 PROGRESSIVE STERLIZATION, LLC,                       Civil Action No: ___________
 a Florida Limited Liability Company,

                              Plaintiff,
                                                      JURY TRIAL DEMANDED
 v.

 TURBETT SURGICAL LLC, a Delaware
 Limited Liability Company and
 ROBERT TURBETT, individually

                              Defendants.




                                           COMPLAINT

       Plaintiff Progressive Sterilization, LLC, by and through its undersigned counsel, hereby

files the following Complaint against Defendants Turbett Surgical LLC and Robert Turbett and

alleges:

                                      INTRODUCTION

       1.     This lawsuit is based on patent infringement by Turbett Surgical LLC,

misappropriation of trade secrets by Turbett Surgical LLC and Robert Turbett, breach of

fiduciary duty by Robert Turbett, aiding and abetting by Turbett Surgical LLC and Robert

Turbett, and conspiracy between Turbett Surgical LLC and Robert Turbett.

       2.     At its heart, the lawsuit is about how three people developed medical device

businesses around a ground-breaking technology for sterilizing surgical instruments. Two of

them, Maryellen Keenan and Michele Mauzerall (and their company Progressive Sterilization,




                                              -1-
    Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 2 of 50 PageID #: 2



LLC), competed and innovated fairly. The third person, Robert Turbett (and his company Turbett

Surgical LLC), did not.

        3.      The underlying technology was invented by Clarence and Barry Snyder and was

originally called SCORES (short for Self-Contained Operating Room Equipment Sterilization).

Multiple trays containing surgical instruments for one specific surgery are loaded, sterilized and

stored and delivered to the operating room (“OR”) in a SCORES mobile cabinet. SCORES units

(the mobile cabinet and its transfer cart) greatly reduce the time, expense and health hazards

associated with delivering sterile surgical instruments to the OR from the hospital’s sterile

processing department (“SPD”) and back again.

        4.      The Snyders founded AmMed Surgical in 2009 to produce and sell SCORES

units and related filters and accessories.

        5.      They separately engaged Robert, 1 Keenan and Mauzerall in the 2011-2012 time

frame to promote AmMed and its products with the goal of developing AmMed into a

commercially successful medical device business.

        6.      Robert, Keenan and Mauzerall received direct access to, and instruction on, all of

AmMed’s trade secrets, patented inventions and other confidential and proprietary business

information. They participated directly in the process of applying for FDA clearance of SCORES

units, sourcing the units for commercial manufacture, and the marketing and sales of SCORES

units to hospital customers.

        7.      Robert terminated his relationship with AmMed in October, 2013, but Keenan

and Mauzerall continued to work on developing the SCORES technology into a successful

business. Keenan and Mauzerall invented improvements to the SCORES technology and


1
  As discussed below in the description of the parties, Robert Turbett is identified as “Robert” when
referred to individually to avoid confusion with his company.

                                                    -2-
  Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 3 of 50 PageID #: 3



obtained patents on these improvements. They acquired all of AmMed’s intellectual property

rights in surgical instrument sterilization technology including the patents originally obtained by

the Snyders on this technology. In 2015, they formed their own company, Progressive, to sell an

improved multiple tray sterilization system called the CUBE.

        8.      Robert and Turbett Surgical have recently begun selling a competing system

called the POD. Investigation reveals that, instead of developing his own technology, Robert and

his company are using trade secrets and confidential information stolen from Progressive, and

are infringing patents owned by Progressive that protect the Snyders’, Keenan’s and Mauzerall’s

inventions. Turbett Surgical’s POD technology is actually Progressive’s CUBE technology.

        9.      Robert and his company must be held accountable for patent infringement,

misappropriation of trade secrets and confidential business information, and aiding and abetting

and conspiring in support of the unlawful conduct of one another. Judicial intervention is

necessary to prevent any further misuse of Progressive’s proprietary technology, obtain fair

compensation for Progressive’s damages, restitution and disgorgement of Defendants’ unjust

enrichment, and punitive damages, and other injunctive relief or remedies in law or equity as are

just and proper.

                   RELEVANT PERSONS, COMPANIES AND PARTIES

        10.     Brothers Barry Snyder and Clarence Snyder invented the original SCORES units

used to sterilize multiple trays of surgical instruments. They may be identified respectively as

“Barry” and “Clarence” when referred to individually.

        11.     The Snyders formed AmMed Surgical Equipment, LLC (“AmMed”), a Florida

limited liability company, on March 2, 2009 for purposes of producing SCORES units and

related filters and accessories.



                                                -3-
  Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 4 of 50 PageID #: 4



        12.    Plaintiff Progressive Sterilization, LLC (“Progressive”), is a Florida limited

liability company formed on February 6, 2015 for purposes of acquiring AmMed’s assets,

including without limitation all of AmMed’s patents, trade secrets, and other confidential and

proprietary information and intellectual property relating to SCORES units and surgical

instrument sterilization systems. Subsequent to the acquisition, AmMed ceased active operations

and ultimately dissolved effective March 4, 2016.

        13.    As originally formed, Progressive was capitalized and owned by PMBS, LLC

(“PMBS”), a New Jersey limited liability company, Phoenix Enterprises of New York, LLC

(“Phoenix”), a New York limited liability company, Steri SC, LLC (“Steri”), a Florida limited

liability company, and Promedica, Inc. (“Promedica”), a Florida corporation, each of which was

a member of Progressive as originally formed.

        14.    Currently, the members and owners of Progressive are PMBS, Phoenix and Steri.

Original member Promedica no longer has any equity or ownership in Progressive, is no longer a

member of Progressive, but Promedica does continue to have an economic interest.

        15.    The working members of Progressive are PMBS and Phoenix, and the principal

members, owners and managers of each of PMBS and Phoenix are Michele Mauzerall

(“Mauzerall”) and Maryellen Keenan (“Keenan”), respectively.

        16.    Progressive owns all patents, trade secrets and confidential information infringed

or misappropriated by Defendants.

        17.    Defendant Turbett Surgical LLC (“Turbett Surgical”), is a Delaware limited

liability company, which, on information and belief, has a business office in Rochester, New

York.




                                                -4-
  Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 5 of 50 PageID #: 5



       18.     Defendant Robert Turbett capitalized, founded and formed Turbett Surgical as a

Delaware limited liability company in which he is a member and holds the title of

CEO/President. On information and belief, Robert Turbett has at all relevant times served as the

manager of Turbett Surgical within the meaning of 6 Del. C. § 18-101(10) and/or participated

materially in the management of the company within the meaning of 6 Del. C. § 18-109(a)(ii).

On information and belief, he resides in Penfield, New York. Robert Turbett may be identified as

“Robert” when referred to individually.

                                     JURISDICTION AND VENUE

       19.     This is an action for patent infringement under the patent laws of the United

States, 35 U.S.C. §§ 271 and 281, et seq. This Court has subject matter jurisdiction pursuant to

28 U.S.C. §§ 1331 and 1338(a)-(b).

       20.     This action also asserts state-law claims for trade secret misappropriation under 6

Del. C. §§2001-2009, and common law claims for disclosure and use of confidential information

in breach of fiduciary duties and aiding and abetting. Those state-law claims are so related to the

claims within the Court’s original jurisdiction that they form part of the same case or controversy

under Article III of the United States Constitution. This Court has supplemental jurisdiction over

these claims pursuant to 28 U.S.C. § 1367(a).

       21.     Venue is proper in this district under 28 U.S.C. §§ 1391(c) and 1400(b).

       22.     Defendants are subject to this Court’s specific and general personal jurisdiction

pursuant to due process and/or the Delaware Long Arm Statute, see 10 Del. C. § 3104.

Defendants have availed themselves of Delaware corporate law. In addition, on information and

belief, Defendants have engaged in substantial business in this forum, including: (i) at least a

portion of the infringements alleged herein; (ii) targeting business activities towards consumers



                                                -5-
  Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 6 of 50 PageID #: 6



in the United States, including Delaware, through at least commercial Internet sites; and/or (iii)

regularly doing or soliciting business, engaging in other persistent courses of conduct, or

deriving substantial revenue from goods and services provided to individuals in Delaware.

       23.     Robert is also subject to the personal jurisdiction of this Court under 6 Del. C. §

18-109(a) based on his management and/or material participation in the management of Turbett

Surgical, the allegations against him focus on the performance of his duties and obligations as a

manager of Turbett Surgical, the resolution of this matter is bound up in Delaware law and

Delaware’s strong interest in providing a forum for disputes relating to whether and how the

managers of Delaware LLC’s are discharging their management functions.

       24.     Robert is also subject to the personal jurisdiction of this Court under the Delaware

Long Arm Statute, 10 Del. C. § 3104(c), based upon his having formed a Delaware entity,

Turbett Surgical, and his having conspired with and/or having been aided and abetted by, this

Delaware entity.

                                  FACTUAL BACKGROUND

             Snyders Invent Multiple Tray Sterilization System Called SCORES

       25.     Modern surgery typically requires a large number of surgical instruments stored

and sterilized in individual trays. For example, the average knee replacement operation requires

approximately twelve trays containing the surgical instruments needed for this operation.

       26.     Coming into 2009, the customary procedure was to sterilize each tray

individually, including the steps of washing each tray individually, inspecting each instrument

carefully, re-assembling instruments into the tray, wrapping each tray individually with a

specially manufactured disposable wrap, taping and labeling each tray individually and then

placing the wrapped, taped and labeled tray on a load cart that is inserted into an autoclave where



                                                -6-
  Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 7 of 50 PageID #: 7



steam is introduced at very high temperatures to sterilize the contents of the trays. After allowing

sufficient time in the autoclave to sterilize the contents of the load cart and for those contents to

dry, the cart is removed from the sterilizer chamber and sequestered for a minimum of 60

minutes while the wrapped trays cool down and become dry to touch. Once each wrapped tray is

at room temperature, it can be transferred to another cart to be moved to sterile storage or

delivered to the OR for use. When wrapped trays are brought to the OR, prior to the

commencement of surgery the exterior of each wrapped tray must be inspected for defects, the

tray is then unwrapped, and then the wrapper must be re-inspected in front of a light source for

holes prior to the contents being allowed to be placed on the sterile field (the “surgical back

table”). Each tray also bears a chemical indicator of the sterilization status of the tray and the

chemical indicator itself must be inspected. Most important in this process is inspection of the

wrapper to be certain there is no breach in the package integrity. Holes and tears in wraps occur

all too frequently.

       27.     This sterilization process is time-consuming and inefficient. Wrapping

(sometimes facilitated with extra materials including corner protectors and linen to prevent

damage to the wrap), taping, and labeling is expensive – both material and labor. Wrap

inspection in the OR is mandatory and costly. Published estimates of OR cost per minute range

from $28 - $180. Much more important is the risk to patient safety posed by undetected

compromised sterility and/or the potential delays caused by the detection of a breached sterile

wrap and the time it takes to replace or re-sterilize those needed instruments.

       28.     Barry and Clarence Snyder invented a solution for these problems: the first-ever

multiple surgical tray sterilization system called the SCORES cabinet (short for Self-Contained

Operating Room Equipment Sterilization) involving a mobile cabinet into which multiple trays



                                                 -7-
  Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 8 of 50 PageID #: 8



containing procedure-specific surgical instruments are loaded, sterilized, stored and transferred

on its own cart to the OR. The SCORES system eliminated the time-consuming, expensive and

potentially hazardous steps of wrapping, taping, labeling, sterilizing, storing, and finally

delivering to the OR and inspecting multiple surgical trays individually. The SCORES cabinet is

widely regarded as the foundational technology for mobile sterilization of multiple surgical trays.

       29.      The Snyders formed AmMed for purposes of producing and distributing the

SCORES cabinets and related filters and accessories.

       30.      Shortly thereafter, on May 6, 2009, the Snyders filed U.S. Patent Application No.

12/387,683 for a patent on the SCORES sterilization system, which the U.S. Patent and

Trademark Office granted approximately four years later as U.S. Patent No. 8,454,901, dated

June 4, 2013 (the “SCORES patent”).

      Snyders and AmMed Engage Robert Turbett to Promote the SCORES Business

       31.      By early 2011, the Snyders and AmMed had designed and manufactured

SCORES units that implemented their patent-pending inventions. They had begun the process of

obtaining FDA clearance to market and sell SCORES units via a Section 510(k) premarket

submission. They required assistance promoting sales into hospitals and attracting capital to

scale marketing, sales, production and distribution to commercially profitable levels.

       32.      At or about the same time, AmMed engaged Robert to act as an authorized

promoter of SCORES units as well as assist with commercialization efforts generally, including

fund raising.

       33.      Robert had been working as a sales representative for companies selling surgical

instruments to hospitals, but he had no experience or knowledge regarding processes used by

hospitals to sterilize surgical instruments, nor did he have any experience or knowledge



                                                 -8-
  Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 9 of 50 PageID #: 9



regarding the design, testing, or manufacturing of sterilization devices or systems and the process

for obtaining government clearance to sell sterilization devices or systems.

       34.      Robert nonetheless viewed AmMed and multiple surgical tray sterilization

systems as a potentially lucrative business opportunity. He expected to receive compensation

from AmMed for his services, including, at least, commissions on sales and possibly also

consideration for sourcing additional investment into AmMed. The relationship was based on

verbal communications, principally between Robert and Barry, and their email communications.

The expectation was that Robert and AmMed would enter into more formal written agreement as

AmMed’s business developed.

       35.     On December 29, 2011, Barry sent Robert an email titled “NDA” attaching a

Confidentiality Agreement between AmMed and Robert, a true and correct copy of which is

attached as Exhibit A. On information and belief, Robert signed the agreement. As discussed

below, Keenan entered into the same agreement with AmMed.

       36.     AmMed introduced Robert to prospective hospital accounts developed prior to his

engagement, including proprietary and confidential information on specific account requirements

and pricing, and Robert sought to make commercial sales of SCORES units, filters and related

accessories into these accounts.

       37.     In December 2012, Barry and his nephew Travis White provided on-site training

on SCORES units to Robert, Mauzerall and another sales representative Tom Plis. The training

occurred at St. Peter’s University Hospital in Albany, New York. Robert received specific

instructions on hospital sterilization processes, use and operation of the SCORES units, how to

adjust the units, how to set up the units to interface with the hospital’s autoclave, what to say and

what not to say during a sales presentation, pricing strategy, and the instructions to give the



                                                 -9-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 10 of 50 PageID #: 10



hospital for use (IFUs) of SCORES units, and observed Barry conduct an In Service meeting

with a hospital account.

           38.   On behalf of AmMed, Robert developed new hospital accounts in New York,

Pennsylvania, Massachusetts and New Jersey, engaged and trained sales representatives to serve

these territories, and managed hospital accounts in these territories.

           39.   AmMed paid sales commissions to Robert, including a specific percentage of the

revenue received by AmMed on SCORES units purchased by St. Peters University Hospital in

early 2013.

           40.   Robert also participated directly in most if not all facets of the process of

obtaining FDA clearance to market and sell SCORES units under the FDA’s 510(k) Premarket

Notification rules, which the FDA granted to AmMed on July 26, 2012.

           41.   In early 2012, Robert was involved in developing the protocol for human factors

testing required by the FDA, including the instructions for use (IFUs) to be used by the hospital.

Robert communicated directly with Farm Design, the consultant engaged by AmMed to design,

conduct and report the testing subject to strict confidentiality requirements. He attended the

testing conducted pursuant to the protocol and reviewed and suggested revisions to the test

results.

           42.   On information and belief, AmMed disclosed to Robert all sterilization-related

testing done for AmMed on a confidential basis by SPS Medical and Moog/Ethox in 2010 and

2011. The disclosures included test protocols and applicable industry and government standards

covering the testing and test results on at least five subjects (i.e. sterility assurance levels,

thermal profiles and steam penetration, drying, barrier integrity and transport and shelf life).




                                                  -10-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 11 of 50 PageID #: 11



       43.     On information and belief, AmMed disclosed to Robert all submissions made to

the FDA in 2011 and 2012 to obtain 510(k) clearance. These submissions were made by

AmMed’s regulatory consultant, David Furr, whose internal communications with AmMed, on

information and belief, also were disclosed by AmMed to Robert. These disclosures in the

submissions and communications with Furr included hundreds of pages of non-public and

confidential information, including FDA inquiries regarding potential deficiencies in AmMed’s

510(k) notification, SCORES unit’s designs and specifications, and performance testing of the

SCORES units such as the aforementioned testing by Moog/Ethox, Farm Design and SPS

Medical.

       44.     Robert was copied on communications by Barry and Keenan presenting the

SCORES technology to medical device distributor Stryker, with the expectation that Stryker

might be interesting in licensing the technology. On information and belief, AmMed or Barry

disclosed to Robert in confidence additional copies of SCORES performance testing and then-

pending 510(k) submissions as part of AmMed’s discussions with Stryker.

       45.     Ultimately, Barry, Clarence and AmMed could not agree with Robert to reduce

the terms of their prior agreement(s) to a formal written contract. Robert gave Barry and Sam

written notice on October 7, 2013 that, effective as of that date, Robert and his companies and

partners would not be involved in the promotion of AmMed products. In the same

communication, Robert acknowledged the need to return AmMed’s proprietary sales and

promotional materials (and said that he and his associates would do so). Robert also reserved his

claim for compensation for his efforts to introduce licensing or potential investment partners,

citing his introduction of Keenan to Barry as discussed in the next section.

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                                               -11-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 12 of 50 PageID #: 12



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      AmMed Discloses to Robert its Trade Secret Technology and Confidential Information

          46.    During the aforementioned meetings and communications, AmMed disclosed in

confidence to Robert at least the following trade secret information ("Trade Secret Technology")

and types of confidential Information (“Confidential Information”) pertaining to the design,

manufacture, FDA clearance, marketing and sales of SCORES units, filters and accessories,

multiple tray sterilization system technology, and related intellectual property:

                 a.    Non-public inventions and supporting disclosures in pending patent

                       applications, including U.S. Patent Applications 12/387,673, filed May 6,

                       2009 and 13/944,875, filed July 17, 2013;

                 b.    Subject matter that might not be covered in pending patent applications,

                       including U.S. Patent Applications 12/387,673, filed May 6, 2009 and

                       13/944,875, filed July 17, 2013;

                 c.    SCORES units’ Instructions For Use (IFU) including improved IFU for

                       multiple tray sterilization systems developed through the human factors

                       testing on SCORES units;

                 d.    Protocols for validating performance of multiple tray sterilization systems

                       sufficient to obtain FDA 510(k) clearance, including:

                       1)      Methodology for analyzing microbial barrier properties;

                       2)      Methodology for verifying sterilization efficacy;

                       3)      Methodology for demonstrating adequate steam sterilization/heat

                               penetration of the cabinet;

                       4)      Methodology for determining proper drying time;



                                                -12-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 13 of 50 PageID #: 13



                      5)     Methodology for determining transport and shelf life over 7/30

                             days;

                      6)     Methodology for demonstrating safety and performance of transfer

                             cart; and

                      7)     Methodology for using human factors testing to validate usability

                             of the multiple surgical instrument tray systems in both OR and

                             sterile processing department.

              e.      Methodology for combining filters to achieve FDA-compliant microbial

                      barrier properties;

              f.      Non-public submissions and content of 510(k) Premarket Notification for

                      SCORES units;

              g.      Improvements to the SCORES transfer cart, including modification of

                      wheel base and improved autoclave docking and transfer cart self-locking

                      features;

              h.      Pricing strategies for SCORES units, filters and accessories; and

              i.      The identity and cost of vendors and consultants competent and available

                      to provide performance testing and FDA clearance approval.

       47.    The Trade Secret Technology and Confidential Information was generally not

known or readily accessible and was maintained in confidence by AmMed. AmMed derived

independent economic value from keeping this Trade Secret Technology and Confidential

Information in confidence. The Snyders, AmMed, Keenan and Mauzerall developed the Trade

Secret Technology and Confidential Information over years of investing substantial time, effort,

expense, and research. At the time that AmMed began initial efforts to market and sell the FDA-



                                              -13-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 14 of 50 PageID #: 14



cleared SCORES units, the market for multiple surgical tray sterilization systems was just

emerging and AmMed, Keenan and Mauzerall were at the forefront of this market.

       48.     During all pertinent times, reasonable steps have been taken to maintain the

secrecy of the Trade Secret Technology and Confidential Information. AmMed consistently

sought NDAs from its outside vendors as reflected in its communications with Keenan and its

independent testing centers. Further, Robert knew or reasonably should have known that the

information disclosed by the Snyders, AmMed, Keenan and Mauzerall, and any of the vendors,

consultants or investors with whom they associated to commercialize multiple tray sterilization

products was confidential and proprietary.

       49.     Progressive is the owner by sale and transfer of the entire right, title and interest

in the Trade Secret Technology and Confidential Information.

                    AmMed Engages the Services of Keenan and Mauzerall

       50.     Robert, through his business partner Joe Brown, introduced Keenan to Barry and

AmMed as someone who could assist with the licensing or sale of the SCORES technology.

       51.     Keenan and her company, Phoenix, had access to individuals with expertise in

healthcare, in particular with interests in the market for improvements in orthopedic, cardiac and

hospital processes. Based upon her conversations with Barry, Keenan believed her market

contacts would be interested in the SCORES technology and she agreed to begin soliciting

strategic licensing or acquisition partners in return for a percentage of gross proceeds on any

such transaction.

       52.     On October 24, 2011, Keenan signed AmMed’s Confidentiality Agreement. A

true and correct copy of the form signed by Keenan, as well as excerpted copies reflecting

Keenan’s execution of the agreement, are attached as Exhibits B-1 and B-2, respectively.



                                                -14-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 15 of 50 PageID #: 15



Pursuant to this agreement, AmMed agreed to furnish Keenan with “confidential or proprietary

information or trade secrets” and to allow AmMed’s suppliers, customers, employees and

representatives to disclose this information to Keenan. Keenan, in turn, agreed to maintain the

confidentiality of and to not disclose all such information. The agreement concludes: “This

agreement shall be binding upon and inure to the benefit of the parties, their successors and

assigns.”

       53.     On information and belief, AmMed required all potential investors, promoters and

distributors to sign the Confidentiality Agreement, including the aforementioned request that

Robert sign the Confidentiality Agreement.

       54.     On November 13, 2011, Barry approved the entry by AmMed into a Consulting

Services Agreement with Keenan’s company, Phoenix. Pursuant to this agreement, Keenan

began promoting potential licenses of SCORES technology by companies interested in

distributing SCORES units. Keenan’s active participation in the aforementioned presentation to

Stryker is an example of the services provided by Keenan to AmMed.

       55.     At approximately this same time, Keenan and Mauzerall had been discussing the

possibility of starting a consulting firm specifically for Process Improvement/Efficiency

Generation for hospitals and medical practices.

       56.     Keenan introduced Mauzerall to Barry in the summer of 2012, thinking AmMed’s

SCORES units and related cost saving, efficiencies and improved patient safety might be a good

focus for their nascent business. She was right. Mauzerall’s conversations with Barry convinced

her that the multiple tray sterilization technology implemented in SCORES units dwarfed any

other ideas she had for her business with Keenan.




                                               -15-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 16 of 50 PageID #: 16



        57.     Mauzerall participated in the aforementioned SCORES unit hospital trial at St.

Peter’s University Hospital in December 2012. From there she was given verbal authorization to

sell and market SCORES units in New York and New Jersey. She and her company PMBS also

attended national and local trade conferences as AmMed’s authorized “distributor” during 2013.

These efforts, including a sale to an account in Oregon, convinced AmMed that Mauzerall could

sell SCORES units. On November 3, 2013, AmMed and PMBS entered into their first written

distribution agreement, pursuant to which PMBS was recognized as AmMed’s exclusive

“Distributor” in twelve (12) states, District of Columbia, Puerto Rico, and the Virgin Islands. As

discussed below, the agreement was modified shortly thereafter to give PMBS an exclusive

license for North America.

 Keenan and Mauzerall Invent Improvements to Multiple Tray Sterilization Systems: the

                                    ‘143, ‘093 and ‘972 Patents

        58.     Mauzerall and Keenan conceived of and jointly developed with Barry and

Clarence the improvement of placing a vent or vents and associated filter or filters on any panel

of the sterilization cabinet, not just at the top or bottom.

        59.     Mauzerall and Keenan also conceived of and jointly with Barry and Clarence

improved methods for loading, sterilizing and delivering SCORES-type sterilization cabinets to

the operating room from the hospital’s sterile processing department and back again.

        60.     On July 17, 2013, AmMed filed U.S. Patent Application 13/944,875 (“the ‘875

application”) providing the written description and figures supporting claims for patent

protection on these improvements. Keenan and Mauzerall are co-inventors along with Barry and

Clarence Snyder of claims for which patents have issued based on these disclosures.




                                                  -16-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 17 of 50 PageID #: 17



        61.     The claims in the ‘875 application were granted patent protection in U.S. Patent

No. 9,616,143 (“the ‘143 patent”), issued April 11, 2017, and entitled “Mobile Apparatus and

Method for Sterilizing One or More Surgical Trays with Integrable Transfer and Storage

System”. A copy of the ‘143 patent is attached as Exhibit C.

        62.     A continuation of the ‘875 application seeking protection of additional inventions

supported by the disclosures in the ‘875 application was filed on January 20, 2017. The claims in

this continuation application, U.S. Pat. Application 15/411,361 were granted protection in U.S.

Patent No. 9,694,093 (“the ‘093 patent”), issued July 4, 2017, and entitled “Mobile Apparatus

and Method for Sterilizing One or More Surgical Trays with Integrable Transfer and Storage

System”. A copy of the ‘093 patent is attached as Exhibit D.

        63.     Keenan and Mauzerall also invented improvements to the design of the floor of

the sterilization cabinet to better drain water and other condensate remaining after the

sterilization process.

        64.     PMBS filed for patent protection on these improvements in U.S. Pat. Application

15/831,144 (“the ‘144 application”), which through a chain of continuation applications claims

the benefit of U.S. Provisional Application No. 62/053,338 filed on September 22, 2014.

        65.     The claims in the ‘144 application were granted patent protection in U.S. Patent

No. 10,111,972 (“the ‘972 patent”), issued on October 30, 2018, and entitled “Mobile

Sterilization Apparatus and Method for Using the Same”. A copy of the ‘972 patent is attached

as Exhibit E.

        66.     Collectively, the ‘143 patent, ‘093 patent and ‘972 patent are the “Asserted

Patents”.




                                                -17-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 18 of 50 PageID #: 18



       67.        Progressive is the owner by assignment of the entire right, title and interest in the

Asserted Patents.

 AmMed Declares Bankruptcy; Progressive Acquires AmMed’s Intellectual Property and

             Sells an Improved Multiple Tray Sterilization System called the CUBE

       68.        On or about January 9, 2014, Mauzerall’s company, PMBS, entered into a

License and Distribution Agreement with AmMed (“AmMed – PMBS License Agreement”),

pursuant to which AmMed granted to PMBS, among other things, an exclusive and irrevocable

license to all of AmMed’s intellectual property and to purchase, manufacture, market, distribute

and sell SCORES units, filters and accessories in the United States, Canada, Puerto Rico and the

Virgin Islands.

       69.        After the AmMed – PMBS License Agreement was entered, disputes arose

between AmMed, PMBS and their respective affiliates regarding the marketability of SCORES

units. For these and other reasons, AmMed was not receiving sufficient royalty income to sustain

active operations. On August 22, 2014, AmMed filed for bankruptcy protection under Chapter 11

of the Bankruptcy Code on August 22, 2014.

       70.        Pursuant to a Mediation Settlement Agreement (“MSA”) entered into on or about

January 30, 2015 and the proposed Plan of Liquidation incorporating the MSA filed on February

26, 2015, and as later approved in the bankruptcy court’s Order Confirming Plan of Liquidation

(“the Plan”) entered on December 21, 2015, AmMed sold and transferred substantially all of its

tangible and intangible assets to Progressive.

       71.        Under the Plan, Progressive acquired free and clear of any and all liens and

interests all of AmMed’s intellectual property relating in any way to SCORES units technology,

including without limitation the SCORES patent, all AmMed rights in any then-pending patent



                                                   -18-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 19 of 50 PageID #: 19



applications, all AmMed trade secrets, and all of AmMed’s legal or equitable interests in any

other confidential information or intellectual property relating to surgical instrument sterilization.

Progressive thereby acquired free and clear of any and all liens and interests AmMed’s Trade

Secret Technology and Confidential Information.

       72.     The only AmMed assets excluded from what was sold and transferred to

Progressive under the Plan consisted of cash, bank deposits and marketable securities and

abandoned physical property in the form of company car(s), trailers, office supplies and an

autoclave. AmMed dissolved effective March 4, 2016, reporting in its Articles of Dissolution

that “COMPANY SOLD.”

       73.     Progressive currently markets and sells an improved multiple tray sterilization

system, the MTS300 System, also referred to as the CUBE or the SteriCUBE System. The

CUBE sterilization cabinet, transfer cart, and related filters and accessories (“CUBE units”) are

based on SCORES technology and patented improvements to the SCORES technology owned by

Progressive, including the Asserted Patents.

       74.     While the FDA has cleared the CUBE for commercial marketing, sales and

distribution, Progressive is still a nascent medical device company that has had to overcome

numerous litigated disputes regarding marketing and intellectual property rights to its

technology, while at the same time designing and developing an improved sterilization system,

obtaining government clearance for this system, and re-introducing its product to national

medical device distributors whose support is crucial to its success. Having fought to bring itself

to the cusp of achieving significant commercial success, Progressive has discovered that its

efforts to-date have been significantly impeded by Robert’s and Turbett Surgical’s theft of




                                                -19-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 20 of 50 PageID #: 20



Progressive’s intellectual property and that these impediments must be removed if Progressive is

to succeed.

                                       Discovery of Theft

       75.     The first trade show where the CUBE was exhibited (as an FDA cleared medical

device) was the AORN (Association of periOperative Registered Nurses) show in Anaheim,

California in April 2016. Keenan and Mauzerall were on-site beginning April 3, 2016 and at or

around that time another distributor at the show advised them that Robert was at the show and

exhibiting a potentially competing multiple tray sterilization system from Turbett Surgical. At

that time the Turbett product had no name but it has since been called “the POD”. This was the

first time they saw and could confirm that Robert had begun to sell a competing device, and it

was also the first knowledge of any kind of the POD’s design and operation.

       76.     At the time, none of the Asserted Patents had yet been issued. Plus, Keenan,

Mauzerall and Progressive were still two years away from resolving all disputes with their

business partners regarding intellectual property implemented first in SCORES units and then in

CUBE units. They nonetheless began to research the POD as best they could from publicly

available information.

      Robert and Turbett Surgical Misappropriated the Trade Secret Technology and

                                   Confidential Information

       77.     Over an extended period of time, what Keenan, Mauzerall and Progressive began

to suspect, and ultimately determined, was that the POD had several features that embodied

and/or were derived from the Trade Secret Technology and the Confidential Information that had

been disclosed in confidence to Robert.




                                               -20-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 21 of 50 PageID #: 21



       78.     Investigation revealed that Robert and Turbett Surgical disclosed and used certain

Trade Secret Technology and Confidential Information in the course of making non-public

submissions to obtain FDA clearance to market the POD under Section 510(k).

       79.     Investigation revealed that Robert and Turbett Surgical disclosed and used certain

Trade Secret Technology and Confidential Information in its IFU and other instructions given to

users of the POD.

       80.     Investigation revealed that Robert and Turbett Surgical disclosed and used certain

Trade Secret Technology and Confidential Information in the course of marketing and selling the

POD.

       81.     Investigation revealed that Robert founded and formed Turbett Surgical as a

Delaware limited liability company on September 20, 2013, which was several weeks before

Robert advised Barry and AmMed on October 7, 2013 that Robert was terminating his

promotion of SCORES units. On information and belief, the formation of the Delaware entity

was intended to further a scheme to covertly develop a competing sterilization system using

AmMed’s, Keenan’s and Mauzerall’s inventions, trade secrets and confidential information and

beat them to market with this competing product; and the Delaware entity did in fact further

these conspiratorial goals.

       82.     Investigation revealed that Robert advised Barry and AmMed on or about

February 26, 2013 that “We have reps primed in: . . . Delaware.” On information and belief,

Robert and Turbett Surgical covertly redirected the sales representatives “primed” in Delaware

away from SCORES units to market and promote the POD to hospitals, surgery centers and

surgical staff in Delaware and these sales and marketing efforts have continued up through the

present.



                                              -21-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 22 of 50 PageID #: 22



                   Turbett Surgical Infringes the ‘143, ‘093 and ‘972 Patents

       83.     The applications pending as of the time of the AORN show have since issued as

the Asserted Patents, and Turbett Surgical infringes one or more claims in these patents.

The ‘143 patent

       84.     The ‘143 patent discloses, in one embodiment, a mobile sterilization system for

receiving and sterilizing a plurality of surgical instruments or trays of surgical instruments, for

use in a sterile field in an operating room. The mobile sterilization system includes a cabinet with

an interior sterilization area, into which a sterilization agent can be introduced to sterilize the

surgical trays and instruments. The system further includes a transfer cart onto which the cabinet

can be positioned for movement to and from an autoclave, into which the cabinet is placed so

that its contents may be exposed to the sterilization agent, typically steam. After the sterilization

process is complete, the cabinet is removed from the autoclave and at the appropriate time

moved into the operating room, at which point the cabinet can be opened and the trays and/or

instruments removed. The ‘143 patent thereby provides an apparatus that eliminates many of the

repetitive steps currently required to prepare and deliver instruments to the sterile field.

The ‘093 patent

       85.     The ‘093 patent describes, in one embodiment, a method of sterilizing surgical

trays containing surgical instruments, using a cabinet sized to receive the surgical trays. The

method includes the steps of loading surgical tray(s) containing surgical instruments into the

cabinet’s interior sterilization chamber and then securing the cabinet into a sealed configuration.

The cabinet is positioned at a sterilization location adjacent to an autoclave using a transfer cart,

which is then locked relative to the autoclave. The cabinet is then moved from the transfer cart

into the autoclave where the surgical instruments are sterilized within the cabinet’s interior

sterilization chamber. After the sterilization process is complete, the cabinet is removed from the

                                                 -22-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 23 of 50 PageID #: 23



autoclave and positioned on the transfer cart. The transfer cart can then be released from the

autoclave and the cabinet can be moved from the sterilization location using the transfer cart. In

one embodiment, a security structure is applied to the cabinet to ensure that the cabinet remains

in the sealed configuration until the surgical instruments are to be used.

The ‘972 Patent

       86.     The ‘972 patent describes, in one embodiment, a cabinet for sterilizing surgical

equipment or a surgical tray. The sterilization cabinet comprises a plurality of panels forming a

chamber with an opening for insertion of the surgical equipment or tray. One of the panels is a

floor panel at a bottom of the chamber, the floor panel having a lowest point. Another of the

panels is a door that can close the opening to create a closed, sealed configuration. At least one

of the panels has a vent formed therein that allows passage of a sterilization fluid into the

chamber. An entirety of the floor panel is pitched such that any liquid condensate formed during

the sterilization process is directed by gravity towards the lowest point in the floor panel. The

cabinet also includes a filter in communication with the lowest point in the floor panel, such that

condensate flowing on the floor panel passes through the filter. Also provided is at least one

supporting structure removably positioned within the chamber and configured for supporting the

surgical equipment or the surgical tray above the floor panel.

Turbett Surgical’s Infringement of the ‘143, ‘093, and ‘972 Patents

       87.     Turbett Surgical makes, uses, sells and offers for sale in the United States a

system (the “POD unit”) comprising a reusable cabinet (the “POD cabinet”) used for packaging,

transporting and holding of surgical instruments prior to, during and after sterilization of the

cabinet and its contents in an autoclave. The system also includes a loading and delivery cart (the

“POD cart”) to be used with the POD cabinet. An example of the POD unit is shown in the



                                                -23-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 24 of 50 PageID #: 24



image below.




        88.     Turbett Surgical also provides specific instructions to purchasers of the POD unit

as to how it is to be used.

        89.     The POD unit and its use is described both on Turbett Surgical’s website at

http://www.turbettsurgical.com and in Turbett Surgical’s instructions for using the system,

attached as Exhibits F and G, respectively.


                                               -24-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 25 of 50 PageID #: 25



       90.     Turbett infringes the Asserted Patents at least by making, using, selling and

offering for sale the POD unit, which falls within the scope of one or more of the claims of the

Asserted Patents as shown in more detail below. Turbett further infringes indirectly by active

inducement, specifically intending that its customers, including hospitals, surgery centers and

associated surgical staff, directly infringe one or more claims of the Asserted Patents, either by

using the infringing POD unit per se or by using Progressive’s patented sterilization methods in

connection with the use of the POD as shown in more detail below.


                                      FIRST CAUSE OF ACTION

                                       Infringement of ‘143 Patent

                                     (Against Turbett Surgical LLC)

       91.     Progressive repeats, realleges, and incorporates hereunder by reference the

allegations contained in all of the above paragraphs.

Direct Infringement

       92.     Turbett Surgical has directly infringed, and continues to directly infringe, literally

and/or under the doctrine of equivalents, one or more claims of the ‘143 patent by, among other

things, making, using, importing, offering for sale, or selling the POD unit, which is covered by

at least claims 1, 2, 10, 11, 12, 13, 17, 26, 27, 28, 29 and 33 of the ‘143 patent.

       93.     One example of Turbett Surgical’s infringement of the ‘143 patent is shown in the

following table:

 US 9,616,143                                      The POD unit
 1. A mobile sterilization system for              The POD unit is used for packaging,
 sterilizing a plurality of surgical trays and     transporting and holding of instruments prior
 for movement from an autoclave, the mobile        to, during and after sterilization. It is indicated
 sterilization system comprising:                  for enclosing multiple uncovered, vented
                                                   instrument delivery trays. (Ex. G pg. 1)



                                                 -25-
Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 26 of 50 PageID #: 26



a cabinet comprising a plurality of panels         The POD cabinet comprises a plurality of
having a first panel and a second panel            panels having a first panel (the “outer door”)
surrounding a cabinet floor,                       and a second panel (e.g. one of the side panels
                                                   or the roof panel) surrounding a cabinet floor.
                                                   (Ex. G pg. 4 and Ex. F pg. 2)




where at least the first panel is removably        The outer door is removably coupleable to the
coupleable to the second panel with a gasket       side and roof panels. Turbett filter cartridges
there between, such that when coupled the          are comprised of filtration paper with a built in
first panel and second panel form a seal to        gasket. A filter cartridge is loaded into the
define an interior sterilization area sized to     door, which is then removably coupled to the
receive the plurality of surgical trays,           other panels with the gasket there between, to
                                                   define an interior sterilization area sized to
                                                   receive the plurality of surgical trays.

                                                   “Place a single Turbett Surgical filter cartridge
                                                   into the door.”




                                                 -26-
Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 27 of 50 PageID #: 27




                                                     “10. Place door onto front of container, and
                                                     close the SIX latches. Latches are located two
                                                     on each side, one on top center, one on bottom
                                                     center”




                                                     (Ex. G pgs. 2 – 8, Ex. F)

where a sterilization agent can be introduced        The POD cabinet in use is placed in an
to the inner sterilization area to sterilize the     autoclave (aka sterilizer) and a sterilization
plurality of surgical trays                          agent can enter the inner sterilization area
                                                     through the holes in the door and through the
                                                     filter cartridge to sterilize the plurality of
                                                     surgical trays.

                                                     “4. … push the container into the sterilizer
                                                     until it is completely within the sterilizer.
                                                     5. Unlock cart from sterilizer and pull empty
                                                     cart away from sterilizer.” (Ex. G pg. 6)

                                                     “4. Run the sterilizer for the validated cycle.”
                                                     (Ex. G pg. 7)
where the first panel can be uncoupled from          The door can be uncoupled to provide access
the second panel to provide access to the            to the interior area.
interior area;
                                                     “3. Remove the six integrity locks, and open
                                                     each of the six latches. Latches are located at
                                                     each front corner, one top center and one
                                                     bottom center.



                                                   -27-
Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 28 of 50 PageID #: 28



                                                    4. Remove the outer door with filter, pulling
                                                    the top away first.” (Ex. G pg. 8)




at least one opening in at least one of the         The door has a plurality of openings to allow
plurality of panels to allow flow of the            flow of the sterilization agent from an exterior
sterilization agent from an exterior of the         of the POD cabinet directly to the interior
cabinet directly to the interior sterilization      sterilization area (Ex. G pg. 2)
area;




a transfer cart frame that supports at least        The POD cart includes a transfer cart frame
one rail, where the cabinet is moveably             that supports at least one rail, onto which the
positionable on at least one rail such that the     POD cabinet is moveably positionable such
cabinet can be moved between the autoclave          that the cabinet can be moved between the
to the transfer cart;                               autoclave and the POD cart.




                                                  -28-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 29 of 50 PageID #: 29



                                                   “5. At the end of the cycle, roll cart into place,
                                                   engage cart lock to sterilizer, confirm tracks
                                                   are aligned, and lock wheels.
                                                   …
                                                   6. Roll transfer carriage with container onto the
                                                   cart. Ensure that transfer carriage locks to the
                                                   cart.” (Ex. G pg. 7)

 at least one retaining mechanism on the           The POD unit includes at least one transfer
 transfer cart frame, where the at least one       carriage lock for releasably engaging the POD
 retaining mechanism releasably engages the        cabinet to secure the POD cabinet to the POD
 cabinet to secure the cabinet to the transfer     cart during movement of the POD cart.
 cart during movement of the transfer cart;
 and                                               “4. Release the transfer carriage lock, and push
                                                   the container into the sterilizer until it is
                                                   completely within the sterilizer.” (Ex. G pg. 5)

                                                   “6. Roll transfer carriage with container onto
                                                   the cart. Ensure that transfer carriage locks to
                                                   the cart.” (Ex. G pg. 7)

 where a lower portion of the transfer cart        The lower portion of the transfer cart frame
 frame is configured to permit movement of         includes wheels to permit movement of the
 the transfer cart.                                POD cart.

                                                   “1. Unlock wheels, and roll cart to sterilizer.”
                                                   (Ex. G pg. 6)




Induced Infringement

        94.    35 U.S.C. § 271(a) provides that “whoever without authority…uses any patented

invention…infringes the patent.” Accordingly, use of a patented apparatus by the purchaser or

other end user of the patented apparatus is direct infringement of the patent by the purchaser/end

user.

        95.    Since at least the date of service of this Complaint, Turbett Surgical has had

actual knowledge of the ‘143 patent, as well as knowledge that the POD unit infringes one or

more claims of the ‘143 patent.


                                                 -29-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 30 of 50 PageID #: 30



       96.     With this knowledge, Turbett Surgical knowingly has induced, and continues to

induce, direct infringement by its customers, including hospitals, surgery centers and associated

surgical staff, which are using the infringing POD unit to sterilize surgical instruments.

       97.     Turbett Surgical specifically intended to encourage its customers to engage in

infringing use of the POD as manifested by its web site and other promotional literature, the

IFUs it distributes with the POD, its presentations at trade shows such as AORN, after- its sales

maintenance and support, its FDA 510(k) premarket notification of intent to market the accused

POD and on information and belief the instructions and directions provided by Robert, Turbett

Surgical and their representatives during in service or other on-site meetings with customers

encouraging infringing uses of the POD.

       98.      Turbett Surgical’s knowing and intended direction to others, including its

customers, is causing indirect infringement under 35 U.S.C. § 271(b) of at least claims 1, 2, 10,

11, 12, 13, 17, 26, 27, 28, 29 and 33 of the ‘143 patent.

Willful Infringement, Damages and Injunctive Relief

       99.     The infringement of the ‘143 patent by Turbett Surgical has been, since at least

the date of service of this Complaint, and continues to be, deliberate, willful, and knowing, or

with deliberate indifference, entitling Progressive to treble damages.

       100.    Progressive has been, and continues to be, damaged and irreparably harmed by

the infringement of Turbett Surgical, which will continue unless this Court enjoins Turbett

Surgical and those acting on its behalf or under its control.

       101.    Progressive, under 35 U.S.C. § 284, seeks damages adequate to compensate for

the infringement of Turbett Surgical.

       102.    As a consequence of Turbett Surgical’s willful infringement of the ‘143 patent,



                                                -30-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 31 of 50 PageID #: 31



Progressive is entitled to enhanced damages pursuant to 35 U.S.C. § 284.

       103.    The Court should declare this an exceptional case under 35 U.S.C. § 285, entitling

Progressive to recover attorneys’ fees.

                                   SECOND CAUSE OF ACTION

                                   Infringement of the ‘093 Patent

                                   (Against Turbett Surgical LLC)

       104.    Progressive repeats, realleges, and incorporates hereunder by reference the

allegations contained in all of the above paragraphs.

Direct Infringement

       105.    Turbett Surgical has directly infringed, and continues to directly infringe, literally

and/or under the doctrine of equivalents, one or more claims of the ‘093 patent by, among other

things, using the sterilization methods covered by at least claims 1, 2, 3, 5, 6, 7, 8, 9, 10, 12, 13,

14, 15, 16, 17, 18 and 19 of the ‘093 patent.

       106.    More specifically, Turbett Surgical’s direct infringement of the ‘093 patent has

been by practice of the claimed method to obtain FDA clearance, in in-service trials, for testing

of the POD unit and for development and testing of the methods of using the POD unit.

       107.    One example of Turbett Surgical’s infringement of the ‘093 patent is shown in the

following table:

 US 9,694,093                                     The Turbett method
 1. A method of sterilizing at least one          The POD cabinet is used for packaging,
 surgical tray containing surgical                transporting and holding of instruments prior to,
 instruments using a cabinet, where the           during and after sterilization. It is indicated for
 cabinet is sized to receive the at least one     enclosing multiple uncovered, vented instrument
 surgical tray within an interior sterilization   delivery trays. (Ex. G pg. 1)
 chamber, where the cabinet can be
 configured between an open configuration         The POD cabinet can be configured between an
 allowing for insertion and removal of at         open configuration allowing for insertion and
 least one surgical tray into the interior        removal of at least one surgical tray into the
 sterilization chamber and a sealed               interior sterilization chamber and a sealed

                                                  -31-
Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 32 of 50 PageID #: 32



configuration where the at least one       configuration where the at least one surgical tray
surgical tray cannot be removed, the       cannot be removed. (Ex. F pgs. 1 & 2)
method comprising:




configuring the cabinet in the open        After preparation and cleaning as specified on
configuration;                             page 3 of Exhibit G, the POD cabinet is in the
                                           open configuration.
loading the at least one surgical tray     At least one surgical tray containing surgical
containing surgical instruments into the   instruments is then loaded into the interior
interior sterilization chamber;            sterilization chamber. (Ex. F pg. 3)




                                           -32-
Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 33 of 50 PageID #: 33




securing the cabinet into the sealed         The POD cabinet is then secured into the sealed
configuration;                               configuration.

                                             “9. Place outer door on work table, outer side
                                             down. Place a single Turbett Surgical filter
                                             cartridge into the door. The filter is friction fit
                                             for assembly.

                                             10. Place door onto front of container, and close
                                             the SIX latches. Latches are located two on each
                                             side, one on top center, one on bottom center”
                                             (Ex. G pg. 5)
positioning the cabinet at a sterilization   The POD cabinet is then positioned at a
location adjacent to an autoclave using a    sterilization location adjacent to an autoclave
transfer cart,                               using the POD cart.

                                             “1. Unlock wheels, and roll cart to sterilizer.
                                             2. Dock cart to sterilizer, engaging sterilizer cart
                                             lock and ensuring tracks are aligned.” (Ex. G pg.
                                             6)

where the transfer cart is adjustable to     The POD cart is adjustable to permit leveling of
permit leveling of the cabinet to the        the POD cabinet to the autoclave via screw
autoclave;                                   threads located at the corners of the cart:




                                             -33-
Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 34 of 50 PageID #: 34




locking the transfer cart relative to the     The POD cart is locked relative to the autoclave.
autoclave;
                                              “2. Dock cart to sterilizer, engaging sterilizer
                                              cart lock and ensuring tracks are aligned.
                                              3. Confirm cart is locked to sterilizer by pulling
                                              back on cart.” (Ex. G pg. 6)
transferring the cabinet from the transfer    The POD cabinet is transferred from the POD
cart into an autoclave while the transfer     cart into an autoclave while the POD cart is
cart is locked relative to the autoclave,     locked relative to the autoclave.

                                              “Do not proceed to load container unless cart
                                              is locked to sterilizer

                                              4. Release the transfer carriage lock, and push
                                              the container into the sterilizer until it is
                                              completely within the sterilizer.” (Ex. G pg. 6)
where the cabinet or transfer cart includes   The POD cabinet includes guide rails and the
mechanical guides to guide the transfer       cart includes flanged wheels.
cart into the autoclave;




                                              “2. Dock cart to sterilizer, engaging sterilizer
                                              cart lock and ensuring tracks are aligned.” (Ex.
                                              G pg. 6)

sterilizing the surgical instruments within   The surgical instruments are sterilized within the
the interior sterilization chamber;           interior sterilization chamber.

                                              “4. Run the sterilizer for the validated cycle.”
                                              (Ex. G pg. 7)
positioning the cabinet onto the transfer     The POD cabinet is then positioned onto the
cart while the cabinet is in the sealed       POD cart while the cabinet is in the sealed
configuration;                                configuration.

                                              -34-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 35 of 50 PageID #: 35




                                                 “5. At the end of the cycle, roll cart into place,
                                                 engage cart lock to sterilizer, confirm tracks are
                                                 aligned, and lock wheels.
                                                 …
                                                 6. Roll transfer carriage with container onto the
                                                 cart. Ensure that transfer carriage locks to the
                                                 cart” (Ex. G pg. 7)
 releasing the transfer cart relative to the     The POD cart is released relative to the
 autoclave; and                                  autoclave.

                                                 “7. Disengage cart from sterilizer...” (Ex. G pg.
                                                 7)
 relocating the cabinet from the sterilization   The POD cabinet is relocated from the
 location using the transfer cart.               sterilization location using the POD cart. (Ex. G
                                                 pg. 7)

                                                 “7. … unlock wheels, and move entire unit to a
                                                 draft free area to cool.”


Induced Infringement

       108.    Turbett Surgical has infringed and continues to infringe indirectly by active

inducement, specifically intending its customers, including hospitals and surgery centers and

their surgical staff, to directly infringe one or more claims of the ‘093 patent.

       109.    Since at least the date of service of this Complaint, Turbett Surgical has had

actual knowledge of the ‘093 patent, as well as knowledge that the POD unit is used to practice

the methods claimed and taught in the ‘093 patent.

       110.    With this knowledge, Turbett Surgical knowingly has induced, and continues to

induce, direct infringement of the ‘093 patent by its customers, including hospitals and surgery

centers and their surgical staff, that have been and are continuing to sterilize surgical instruments

using the POD unit as directed by Turbett Surgical.     Upon information and belief, when Turbett

Surgical sells the POD unit, it provides training and/or instruction specifying how the POD unit

is to be used, including but not limited to the “Turbett Surgical Container” instructions attached

                                                 -35-
  Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 36 of 50 PageID #: 36



as Exhibit G. Consequently, Turbett Surgical has intentionally caused, urged, encouraged or

aided action by its customers to practice the methods claimed and taught in the ‘093 patent

resulting in direct infringement.

        111.    Turbett Surgical has had, and continues to have, the specific intent that its

customers practice the methods claimed and taught in the ‘093 patent.

        112.    Turbett Surgical’s knowing and intended direction to its customers, including

hospitals and surgery centers and their surgical staff, is causing indirect infringement under 35

U.S.C. § 271(b) of at least claims 1, 2, 3, 5, 6, 7, 8, 9, 10, 12, 13, 14, 15, 16, 17, 18 and 19 of the

‘093 patent.

Willful Infringement, Damages and Injunctive Relief

        113.    The infringement of the ‘093 patent by Turbett Surgical has been, since at least

the date of service of this Complaint, and continues to be, deliberate, willful, and knowing, or

with deliberate indifference, entitling Progressive to treble damages.

        114.    Progressive has been, and continues to be, damaged and irreparably harmed by

the infringement of Turbett Surgical, which will continue unless this Court enjoins Turbett

Surgical and those acting on its behalf or under its control.

        115.    Progressive, under 35 U.S.C. § 284, seeks damages adequate to compensate for

the infringement of Turbett Surgical.

        116.    As a consequence of Turbett Surgical’s willful infringement of the ‘093 patent,

Progressive is entitled to enhanced damages pursuant to 35 U.S.C. § 284.

        117.    The Court should declare this an exceptional case under 35 U.S.C. § 285, entitling

Progressive to recover attorneys’ fees.

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                                                 -36-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 37 of 50 PageID #: 37



                                    THIRD CAUSE OF ACTION

                                   Infringement of the ‘972 Patent

                                   (Against Turbett Surgical LLC)

       118.    Progressive repeats, realleges, and incorporates hereunder by reference the

allegations contained in all of the above paragraphs.

Direct Infringement

       119.    Turbett Surgical has directly infringed, and continues to directly infringe, literally

and/or under the doctrine of equivalents, one or more of claims of the ‘972 patent by, among

other things, making, using, importing, offering for sale, or selling the POD unit, which is

covered by at least claims 14, 15, 16 and 18 of the ‘972 patent.

       120.    One example of Turbett Surgical’s infringement of the ‘972 patent is shown in the

following table:

 US 10,111,972                                         The POD unit
 14. A sterilization unit for sterilizing surgical     The POD cabinet is used for packaging,
 equipment or a surgical tray, the sterilization       transporting and holding of instruments prior
 cabinet comprising:                                   to, during and after sterilization. It is indicated
                                                       for enclosing multiple uncovered, vented
                                                       instrument delivery trays. (Ex. G. pg. 1)
 a plurality of panels forming a chamber with          The POD cabinet comprises a plurality of
 an opening for insertion of the surgical              panels forming a chamber with an opening for
 equipment or the surgical tray into the               insertion of the surgical equipment or the
 chamber,                                              surgical tray into the chamber (Ex. F pgs. 2 - 4)




                                                     -37-
Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 38 of 50 PageID #: 38




where at least one of the plurality of panels      The POD cabinet has a floor panel at a bottom
is a floor panel at a bottom of the chamber,       of the chamber, the floor panel having a lowest
the floor panel having a lowest point;             point.
at least pane comprising a door, where the         A Certificate of Correction has been filed to
door is configured to close the opening to         correct “at least pane” to “at least one panel.”
create a closed configuration in which the at
least one door seals the chamber;                  At least one panel of the POD cabinet is a door
                                                   that is configured to close the opening to create
                                                   a closed configuration in which it seals the
                                                   chamber (Ex. G pgs. 2 & 4)




a vent formed in at least one of the plurality     The outer door has a vent formed therein that
of panels that allows passage of a                 allows passage of a sterilization fluid
sterilization fluid therethrough;                  therethrough, see image in cell directly above.
wherein an entirety of the floor panel is          The entirety of the floor panel of the POD
pitched such that any liquid condensate is         cabinet is pitched such that any liquid
directed by gravity towards the lowest point       condensate is directed by gravity towards the
in the floor panel;                                lowest point in the floor panel.


                                                 -38-
Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 39 of 50 PageID #: 39



a filter in fluid communication with the          A filter is positioned in the door over the vent,
lowest point in the floor panel such that any     which is placed onto the front of the POD
condensate flowing on the entirety of the         cabinet. The filter is in fluid communication
floor panel passes through the filter; and        with the bottom row of holes in the door such
                                                  that any condensate flowing on the entirety of
                                                  the floor panel passes through the filter.

                                                  “Place a single Turbett Surgical filter cartridge
                                                  into the door.”




                                                  “10. Place door onto front of container, and
                                                  close the SIX latches. Latches are located two
                                                  on each side, one on top center, one on bottom
                                                  center” (Ex. G pg. 5)
at least one supporting structure removably       The POD cabinet includes at least one
positioned within the chamber and                 supporting structure removably positioned
configured for supporting the surgical            within the chamber and configured for
equipment or the surgical tray above the          supporting the surgical equipment or the
floor panel.                                      surgical tray above the floor panel.

                                                  “3. Place divider into container. Dividers help
                                                  ensure airflow.
                                                  Failure to place dividers could lead to wet
                                                  loads




                                                  4. Place instrument tray on top of divider,
                                                  ensuring it is level.”
                                                  (Ex. G pg. 4)




                                                -39-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 40 of 50 PageID #: 40



Induced Infringement

       121.    35 U.S.C. § 271 (a) provides that “whoever without authority … uses…any

patented invention… infringes the patent.” Accordingly, use of a patented apparatus by the

purchaser or other end user of the patented apparatus is direct infringement of the patent by the

purchaser/end user.

       122.    Since at least the date of service of this Complaint, Turbett Surgical has had

actual knowledge of the ‘972 patent, as well as knowledge that the POD unit infringes one or

more claims of the ‘972 patent.

       123.    With this knowledge, Turbett Surgical knowingly has induced, and continues to

induce, direct infringement by its customers, including hospitals, surgery centers and associated

surgical staff, which are using the infringing POD unit to sterilize surgical instruments.

       124.    Turbett Surgical specifically intended to encourage its customers to engage in

infringing use of the POD as manifested by its web site and other promotional literature, the

IFUs it distributes with the POD, its presentations at trade shows such as AORN, after- its sales

maintenance and support, its FDA 510(k) premarket notification of intent to market the accused

POD and on information and belief the instructions and directions provided by Robert, Turbett

Surgical and their representatives during in service or other on-site meetings with customers

encouraging infringing uses of the POD.

       125.    Turbett Surgical’s knowing and intended direction to others, including its

customers, is causing indirect infringement under 35 U.S.C. § 271(b) of at least claims 14, 15, 16

and 18 of the ‘972 patent.

Willful Infringement, Damages and Injunctive Relief

       126.    The infringement of the ‘972 patent by Turbett Surgical has been, since at least



                                                -40-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 41 of 50 PageID #: 41



the date of service of this Complaint, and continues to be, deliberate, willful, and knowing, or

with deliberate indifference, entitling Progressive to treble damages.

       127.    Progressive has been, and continues to be, damaged and irreparably harmed by

the infringement of Turbett Surgical, which will continue unless this Court enjoins Turbett

Surgical and those acting on its behalf or under its control.

       128.    Progressive, under 35 U.S.C. § 284, seeks damages adequate to compensate for

the infringement of Turbett Surgical.

       129.    As a consequence of Turbett Surgical’s willful infringement of the ‘972 patent,

Progressive is entitled to enhanced damages pursuant to 35 U.S.C. § 284.

       130.    The Court should declare this an exceptional case under 35 U.S.C. § 285, entitling

Progressive to recover attorneys’ fees.

                                    FOURTH CAUSE OF ACTION

                       Misappropriation of Trade Secrets, 6 Del. C. §§ 2001-2009

                         (Against Turbett Surgical LLC and Robert Turbett)

       131.    Progressive repeats, realleges, and incorporates hereunder by reference the

allegations contained in all of the above paragraphs.

       132.    Progressive owns all right, title, and interest in the Trade Secret Technology

disclosed to Robert.

       133.    Since it acquired ownership and control of the Trade Secret Technology,

Progressive has maintained it in confidence and except for the unauthorized disclosures that are

the subject of this lawsuit it has not been generally known nor has it been readily accessible.

Progressive has derived independent economic value from keeping the Trade Secret Technology

confidential. Building on the efforts of the Snyders, AmMed, Keenan and Mauzerall, Progressive



                                                -41-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 42 of 50 PageID #: 42



has continued to develop the Trade Secret Technology over years of investing substantial time,

effort, expense, and research.

       134.    At all relevant times, Progressive has taken reasonable steps to maintain the

secrecy of the Trade Secret Technology. Progressive has continued the practice of its predecessor

AmMed of consistently obtaining NDAs from its outside vendors. Further, Robert and Turbett

Surgical knew or reasonably should have known that the Trade Secret Technology disclosed in

confidence to Robert by the Snyders, AmMed, Keenan and Mauzerall, and any of the vendors,

consultants or investors with whom they associated to commercialize multiple tray sterilization

products was confidential and proprietary. Robert’s and Turbett Surgical’s knowledge and

understanding in this regard has not changed up through the present time.


       135.    At all relevant times, the Trade Secret Technology possessed by AmMed and then

Progressive were trade secrets as defined by Delaware Uniform Trade Secrets Act (“DUTSA”), 6

Del. C. § 2001(4). As described above, Robert was provided confidential access to such trade

secret information through his access to the Trade Secret Technology. The proprietary business

and technical information of Progressive, i.e., the Trade Secret Technology that Robert accessed,

constitutes trade secrets because Progressive, as described herein, derived independent economic

value from that information and keeping that information secret; such information is not

generally known nor readily ascertainable by proper means from other persons who can obtain

economic value from its disclosure or use; and because the information was the subject of

reasonable efforts to maintain its secrecy by AmMed and then Progressive.

       136.    At all relevant times, Robert knew that he had acquired the Trade Secret

Technology under circumstances giving rise to a duty to maintain the secrecy of these trade

secrets, and Turbett Surgical knew that it had acquired the Trade Secret Technology under


                                               -42-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 43 of 50 PageID #: 43



circumstances giving rise to a duty to maintain the secrecy of these trade secrets and/or that these

trade secrets were derived from or through a person (Robert) who owed a duty to maintain the

secrecy of the trade secrets.

       137.    Defendants have improperly used and disclosed the Trade Secret Technology

without consent.

       138.    Defendants improperly used and disclosed the Trade Secret Technology, and

information derived from these trade secrets, in the planning of, design of, FDA clearance of,

purported patenting of, marketing of, and sale of at least Turbett Surgical’s POD, filters and

accessories.

       139.    As a proximate cause of Defendants’ trade secret misappropriation, Progressive

has suffered damages in an amount to be proven at time of trial, but which are substantial and in

excess of the minimum jurisdiction for an unlimited civil case of this Court.

       140.    Defendants’ misappropriation of the Trade Secret Technology is willful and

malicious.

       141.    Progressive is entitled to recover actual and treble damages, unjust enrichment,

attorneys’ fees, and the costs of this litigation pursuant to DUTSA, 6 Del. C. § 2003(a) and (b)

and injunctive relief pursuant to DUTSA, 6 Del. C. § 2002.

                                     FIFTH CAUSE OF ACTION

                           Breach of Fiduciary Duty – Agency Relationship

                                        (Against Robert Turbett)

       142.    Progressive repeats, realleges, and incorporates hereunder by reference the

allegations contained in all of the above paragraphs.

       143.    Progressive owns all right, title, and interest in the Confidential Information



                                                -43-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 44 of 50 PageID #: 44



disclosed to Robert.

        144.     Since it acquired ownership and control of the Confidential Information,

Progressive has maintained it in confidence and except for the unauthorized disclosures that are

the subject of this lawsuit the Confidential Information has not been generally known nor has it

been readily accessible. Building on the efforts of the Snyders, AmMed, Keenan and Mauzerall,

Progressive has continued to develop the Confidential Information over years of investing

substantial time, effort, expense, and research.

        145.     At all relevant times, Progressive has taken reasonable steps to maintain the

secrecy of the Confidential Information. Progressive has continued the practice of its predecessor

AmMed of consistently obtaining NDAs from its outside vendors. Further, Robert and Turbett

Surgical knew or reasonably should have known that the Confidential Information disclosed in

confidence to Robert by the Snyders, AmMed, Keenan and Mauzerall, and any of the vendors,

consultants or investors with whom they associated to commercialize multiple tray sterilization

products was confidential and proprietary. Robert’s and Turbett Surgical’s knowledge and

understanding in this regard has not changed up through the present time.


        146.     By its words and conduct, AmMed acknowledged that Robert would act for the

company and subject to its control in regard to obtaining FDA clearance of the SCORES units,

marketing, sales and promotion of SCORES units, and seeking to obtain additional funding and

capital for AmMed.

        147.     Robert, by his words and conduct, manifested his assent to act on behalf of

AmMed and its successors and assigns with respect to these undertakings and to do so subject to

their control.

        148.     As a result of their relationship, Robert owed AmMed and its successors and


                                                   -44-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 45 of 50 PageID #: 45



assigns the fiduciary duty to act loyally for their benefit, including the specific duties 1) not to

use their property for Robert’s own benefit or those of a third party, and 2) not to use or

communicate their confidential information for Robert’s own purposes or those of a third party.

        149.    Robert breached his fiduciary duties in one or more of the following ways:

                a.      Misappropriated the Confidential Information for his own benefit and that

of his business interests by improperly using and disclosing the Confidential Information and

information derived from the Confidential Information, in the planning of, design of, FDA

clearance of, purported patenting of, marketing of, and sale of at least Turbett Surgical’s POD

and its filters and accessories.

                b.      Misappropriated the Confidential Information for his own benefit and that

of his business interests by disclosing and communicating it to third parties.

        150.    AmMed and its successors and assigns did not consent to Robert’s unlawful

disclosure and use of their confidential information.

        151.    Progressive is AmMed’s successor and assign based upon the bankruptcy court’s

Order Confirming Plan of Liquidation entered December 21, 2015, pursuant to which

Progressive was deemed to have acquired substantially all of AmMed’s tangible and intangible

assets, including all of AmMed’s patents, trade secrets, confidential information and any other

intellectual property rights relating to sterilization systems, and, further, pursuant to which

AmMed dissolved effective March 4, 2016, stating in its Articles of Dissolution that as a result

of the bankruptcy “COMPANY SOLD,” and, further, pursuant to which the founders and

managing members of AmMed (and the inventors of the underlying SCORES technology)

agreed not to compete with Progressive.

        152.    Alternatively, Progressive is AmMed’s successor and assign under the



                                                 -45-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 46 of 50 PageID #: 46



Confidentiality Agreement(s) that on information and belief were entered into between AmMed

and Robert.

       153.    Progressive, as AmMed’s successor and assign, has been harmed as a direct and

proximate result of Robert’s conduct.

       154.    The aforementioned acts of Robert are willful, malicious and fraudulent.

       155.    Progressive is entitled to actual damages, trebled damage, attorneys’ fees and

costs for Robert’s willful conduct, and to injunctive relief.

                                      SIXTH CAUSE OF ACTION

                                           Aiding and Abetting

                         (Against Turbett Surgical LLC and Robert Turbett)

       156.    Progressive repeats, realleges, and incorporates hereunder by reference the

allegations contained in all of the above paragraphs.

       157.    Robert has committed the wrongful acts of trade secret misappropriation and

breach of fiduciary duties arising out of an agency relationship.

       158.    Turbett Surgical had knowledge of Robert’s wrongful acts based upon Robert

serving as Turbett Surgical’s controlling member and principal manager.

       159.    Turbett Surgical knowingly and substantially participated in or provided

substantial assistance for Robert’s wrongful acts.

       160.    Turbett Surgical has committed the wrongful acts of trade secret

misappropriation.

       161.    Robert had knowledge of Turbett Surgical’s wrongful acts based upon Robert

serving as Turbett Surgical’s controlling member and principal manager.

       162.    Robert knowingly and substantially participated in or provided substantial



                                                -46-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 47 of 50 PageID #: 47



assistance for Turbett Surgical’s wrongful acts.

       163.    Turbett Surgical and Robert are jointly and severally liable for harm to

Progressive resulting from Robert’s wrongful acts.

       164.    Robert’s and Turbett Surgical’s participation or assistance in the unlawful acts of

the other was willful and malicious.

       165.    Progressive is entitled to actual damages, trebled damage, attorneys’ fees and

costs for Turbett Surgical’s willful conduct, and to injunctive relief.

                                SEVENTH CAUSE OF ACTION

         Conspiracy to Misappropriate Trade Secrets and Confidential Information

                     (Against Turbett Surgical LLC and Robert Turbett)
       166.    Progressive repeats, realleges, and incorporates hereunder by reference the

allegations contained in all of the above paragraphs.

       167.    Robert and Turbett Surgical together agreed upon and implemented a conspiracy

to use the Trade Secret Technology and Confidential Information to make a multiple tray

sterilization system and to do so before any or all of Keenan, Mauzerall, AmMed or Progressive

could get a competing system to market.

       168.    In furtherance of the conspiracy, Robert misappropriated and unlawfully disclosed

the Trade Secret Technology and Confidential Information to Turbett Surgical.

       169.    In furtherance of the conspiracy, Robert misappropriated and unlawfully used the

Trade Secret Technology and Confidential Information.

       170.    In furtherance of the conspiracy, Robert breached fiduciary duties to AmMed and

its successors and assigns by unlawfully misappropriating the Trade Secret Technology and

Confidential Information for his own benefit and that of his business interests and/or by

disclosing and communicating it to Turbett Surgical or other third parties.

                                                -47-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 48 of 50 PageID #: 48



       171.    Central to the conspiracy was the covert formation of Turbett Surgical for

purposes of furthering the scheme of misappropriating and unlawfully using the Trade Secret

Technology and Confidential Information to develop and promote the sale of a multiple tray

sterilization system that came to be called the POD.

       172.    As proximate result of the conspiracy, Progressive has been harmed.

       173.    Turbett Surgical and Robert are jointly and severally liable for harm to

Progressive resulting from the conspiracy.

       174.    Robert’s and Turbett Surgical’s conduct was willful and malicious.

       175.    Progressive is entitled to actual damages, trebled damage, attorneys’ fees and

costs for Turbett Surgical’s willful conduct, and to injunctive relief.

                                         PRAYER FOR RELIEF

               WHEREFORE, Plaintiff respectfully requests that this Court enter:

       1.       A decree preliminarily and permanently enjoining Defendants, their principals,

officers, directors, employees, agents, successors, assigns, and all persons in active concert with

it from infringing, and contributing to or inducing others to infringe, the ‘143, ‘093, and ‘972

patents, including without limitation immediately ceasing any and all marketing, sales, and

distribution of POD units, filters and related accessories.

       2.      A judgment in favor of Plaintiff that Defendants have infringed, contributed to,

and/or induced the infringement of one or more claims of each of the ‘143, ‘093, and ‘972

patents;

       3.      A judgment and order requiring Defendants to pay Plaintiff its damages, costs,

expenses, and prejudgment and post-judgment interest for Defendants’ infringement of the ‘143,

‘093, and ‘972 patents as provided under 35 U.S.C. § 284;



                                                -48-
 Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 49 of 50 PageID #: 49



       4.      An award to Plaintiff for enhanced damages resulting from the knowing,

deliberate, and willful nature of Defendants’ prohibited conduct with notice being made at least

as early as the date of the filing of this Complaint, as provided under 35 U.S.C. § 284;

       5.      A judgment and order finding that this is an exceptional case within the meaning

of 35 U.S.C. § 285 and awarding to Plaintiff its reasonable attorneys’ fees;

       6.      A judgment and order requiring Defendants pay Plaintiff’s damages, treble

damages, attorneys’ fees, and the costs for misappropriation of trade secrets, breach of fiduciary

duties, aiding and abetting, and conspiracy; and

       7.      Any and all other relief to which Plaintiff may show itself to be entitled.

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Case 1:19-cv-00627-CFC Document 1 Filed 04/03/19 Page 50 of 50 PageID #: 50
